Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.2996 Filed 12/03/20 Page 1 of 9




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
The Law Offices of Gregory Rohl            ERIC GRILL (P64713)
41850 West 11 Mile Rd., Ste.110            Assistant Attorneys General
Novi, MI 48375                             Attorneys for Defendants
(248) 380-9404                             P.O. Box 30736
gregoryrohl@yahoo.com                      Lansing, MI 48909
                                           (517) 335-7659
                                           meingasth@michigan.gov
                                           grille@michigan.gov

                                           ANDREW A. PATERSON (P18690)
                                           Attorney for Proposed Intervening
                                           Defendant Robert Davis
                                           2893 E. Eisenhower Pkwy
                                           Ann Arbor, MI 48108
                                           (248) 568-9712
                                           Aap43@outlook.com
__________________________________________________________________/

       INTERVENOR DEFENDANT ROBERT DAVIS’
  AMENDED/CORRECTED EMERGENCY MOTION TO STRIKE



                                  Page 1 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.2997 Filed 12/03/20 Page 2 of 9




 PLAINTIFFS’ PURPORTED AMENDED COMPLAINT (ECF NO.
                        6).


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

(hereinafter “Intervenor Defendant Davis”), by and through his

attorney, ANDREW A. PATERSON, and for his

AMENDED/CORRECTED Emergency Motion to Strike Plaintiffs’

Purported Amended Complaint (ECF No. 6), states the following:

                             I.    Concurrence

      Pursuant to Local Rule 7.1, prior to filing the instant motion,

counsel for Intervenor Defendant Davis sought concurrence from

Plaintiffs’ counsel, but concurrence was denied, necessitating the filing

of this motion.

             II.   Necessity for Immediate Consideration

      It is necessary for the Court to expedite the briefing and

adjudication of the instant motion because currently pending before the

Court is Plaintiffs’ emergency motion for temporary restraining order

(ECF No. 7), which is based solely on the facts as pled and alleged in

Plaintiffs’ amended complaint (ECF No. 6). (See Plaintiffs’ Motion for




                                  Page 2 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.2998 Filed 12/03/20 Page 3 of 9




TRO, ECF No. 7, PageID. 1832)1. Thus, if the Court grants Intervenor

Defendant Davis’ instant motion and determines that Plaintiffs’

amended complaint (ECF No. 6) was not properly filed in accordance with

Fed.R.Civ.P. 15(a)(1),(2), Plaintiffs’ pending motion for TRO (ECF No. 7)

would be rendered moot.2 This is so because as this Court is aware, “[a]n

amended complaint supersedes an earlier complaint for all purposes.” In

re Refrigerant Compressors Antitrust Litigation, 731 F.3d 586, 589 (6th

Cir.2013); see also Pacific Bell Telephone Co. v. Linkline Commc'ns, Inc.,

555 U.S. 438, 456 n. 4, 129 S.Ct. 1109, 172 L.Ed.2d 836 (2009).

Accordingly, expedited consideration is warranted.

                             III. Introduction

      On November 25, 2020, Plaintiffs filed a five-count, 75-page

complaint against Defendants Governor Gretchen Whitmer, Secretary

of State Jocelyn Benson and the State Board of Canvassers. (ECF No.



1Plaintiffs’ motion for TRO (ECF No. 7) states the following: “The facts
relevant to this motion are set forth in the November 29, 2020 amended
complaint (“Complaint”) filed in the above-captioned proceeding, and its
accompanying exhibits, filed concurrently with this motion, all of which
are respectfully incorporated herein by reference. We present only a
summary.” (ECF No. 7, PageID. 1832).
2Intervenor Defendant Davis will also be filing an emergency motion to
strike Plaintiffs’ pending motion for TRO (ECF No.7).
                                  Page 3 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.2999 Filed 12/03/20 Page 4 of 9




1). Then, on November 29, 2020, without obtaining special leave from

this Court or obtaining written consent from the Defendants, Plaintiffs

unilaterally filed what purports to be an 86-page amended complaint

(ECF No. 6). On November 30, 2020, Intervenor Defendant Davis filed

an emergency motion to intervene as a party defendant. (ECF No. 12).

On December 2, 2020, this Court entered an order granting Intervenor

Defendant Davis’ emergency motion to intervene [12] along with

granting the City of Detroit’s [5] and the Democratic National

Committee’s and Michigan Democratic Party’s [14] respective motions

to intervene. (See Order, ECF No. 28).


                       IV.   Law and Legal Analysis

      A. Plaintiffs’ Purported Amended Complaint (ECF No. 6)
       MUST Be Stricken because It Was NOT Properly Filed In
                   Accordance With Fed.R.Civ.P. 15(a).

      Rule 15 of the Federal Rules of Civil Procedure governs the filing

of amended complaints and provides, in pertinent part:

        (a) Amendments Before Trial.

            (1) Amending as a Matter of Course. A party may amend its
            pleading once as a matter of course within:

                 (A) 21 days after serving it, or



                                  Page 4 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.3000 Filed 12/03/20 Page 5 of 9




                 (B) if the pleading is one to which a responsive
                 pleading is required, 21 days after service of a
                 responsive pleading or 21 days after service of a
                 motion under Rule 12(b), (e), or (f), whichever is
                 earlier.

            (2) Other Amendments. In all other cases, a party may
            amend its pleading only with the opposing party's
            written consent or the court's leave. The court should
            freely give leave when justice so requires.

FED. R. CIV. P. 15(a)(1),(2) (emphasis added).


      The plain and unambiguous language of Fed.R.Civ.P. 15(a)(1) is

clear: Plaintiffs may file an amended complaint (1) after their original

complaint has been served and (2) within Rule 15’s provisions for

amendments for “amending as a matter of course.” Fed. R. Civ. P.

15(a)(1). To be clear, “[a] party may amend its pleading once as a matter

of course within: (A) 21 days after serving it, or (B) if the pleading is

one to which a responsive pleading is required, 21 days after service

of a responsive pleading or 21 days after service of a motion

under Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P.

15(a)(1) (emphasis supplied).

      Here, it is clearly evident from the record that Plaintiffs’

“amended” complaint (ECF No. 6), which was filed on November 29,


                                  Page 5 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.3001 Filed 12/03/20 Page 6 of 9




2020, was NOT properly filed in accordance with Fed.R.Civ.P. 15(a)(1).

As noted, on November 25, 2020, Plaintiffs filed their original

complaint (ECF No. 1). However, Plaintiffs did not serve the summons

and original complaint on the Defendants prior to filing their

“amended” complaint (ECF No. 6) on November 29th. Rather,

Plaintiffs did not serve Defendants with copies of the summons and

original complaint (ECF No. 1) until December 1, 2020. (See Executed

Return of Service, ECF No. 21, PageID. 2109-2114). Thus, it is evident

from the record that Plaintiffs improperly filed their “amended”

complaint (ECF No. 6) prior to serving copies of the summons and

original complaint (ECF No. 1) on the Defendants.

      As the Court may recall, on December 1, 2020, the Court entered a

“text-only” order requiring Plaintiffs’ counsel to inform the Court once

“proper service has been effectuated” on the Defendants. (See December

1, 2020 Text-Only Order). Later that same day, Plaintiffs’ counsel filed

executed return of service forms, which indicated that all of the

Defendants were properly served with copies of the summons and a

copy of the original complaint (ECF No. 1) on December 1, 2020. (See

Executed Return of Service, ECF No. 21, PageID. 2109-2114). Thus,


                                  Page 6 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.3002 Filed 12/03/20 Page 7 of 9




pursuant to Fed.R.Civ.P. 15(a)(1), Plaintiffs only had a right to file an

amended complaint once as a matter of course 21 days after properly

serving the summons and original complaint [1] on the Defendants, but

not before. See Fed.R.Civ.P. 15(a)(1)(A).

      Here, Plaintiffs clearly put the “cart before the horse”. Plaintiffs

filed their “amended” complaint (ECF No. 6) on November 29, 2020,

which was prior to the December 1st date the Plaintiffs served the

Defendants with copies of the summons and original complaint [1]. (See

Executed Return of Service, ECF No. 21, PageID. 2109-2114).

Additionally, Plaintiffs’ “amended” complaint (ECF No. 6) was also filed

prior to any responsive pleadings and/or motions under Rules 12(b),

(e), or (f) being filed by the Defendants. See Fed.R.Civ.P. 15(a)(1)(B).

      Thus, because Plaintiffs failed to comply with the requirements

set forth under Fed.R.Civ.P. 15(a)(1), the only way Plaintiffs could have

filed their “amended” complaint (ECF No. 6) is if they received written

consent from the Defendants or obtained leave from the Court. See

Fed.R.Civ.P. 15(a)(2). Fed.R.Civ.P. 15(a)(2) provides, in relevant part:”

In all other cases, a party may amend its pleading only with the

opposing party's written consent or the court's leave.” (emphasis


                                  Page 7 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.3003 Filed 12/03/20 Page 8 of 9




supplied). However, the record clearly reflects that neither occurred.

Prior to filing their “amended” complaint on November 29, 2020 (ECF

No. 6), the Plaintiffs did not obtain written consent from the

Defendants nor did the Plaintiffs properly seek or obtain leave from the

Court. Fed.R.Civ.P. 15(a)(2).

      Accordingly, because Plaintiffs’ “amended” complaint (ECF No. 6)

was NOT properly filed in accordance with Fed.R.Civ.P. 15(a)(1),(2), it

MUST be stricken by the Court.

                             CONCLUSION

      WHEREFORE, for the foregoing reasons, Intervenor Defendant

Robert Davis prays that this Honorable Court GRANT his

AMENDED/CORRECTED Emergency Motion to Strike Plaintiffs’

Amended Complaint (ECF No. 6) because Plaintiffs’ amended complaint

(ECF No. 6) was not properly filed in accordance with Fed.R.Civ.P.

15(a)(1),(2).




                                  Page 8 of 9
Case 2:20-cv-13134-LVP-RSW ECF No. 42, PageID.3004 Filed 12/03/20 Page 9 of 9




Dated: December 3, 2020            Respectfully submitted,

                              /s/ ANDREW A. PATERSON
                              ANDREW A. PATERSON (P18690)
                              Attorney for Intervenor Defendant
                              Robert Davis
                              2893 E. Eisenhower
                              Ann Arbor, MI 48108
                              (248) 568-9712
                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 3rd day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 3, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
                                   Robert Davis
                                   2893 E. Eisenhower Pkwy
                                   Ann Arbor, MI 48108
                                   (248) 568-9712
                                   aap43@outlook.com




                                  Page 9 of 9
